                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )           No. 3:11-00194
                                                )           JUDGE CAMPBELL
STERLING RENEVA RIVERS                          )


                                            ORDER

       Pending before the Court is a Grievance Petition For Relief From Seizures (Docket No.

475), filed by Defendant Rivers, pro se. The Defendant is represented by counsel. (Docket No.

451). On or before June 29, 2012, counsel for Defendant shall file a notice with the Court

indicating whether she adopts or withdraws the Grievance Petition.

       It is so ORDERED.



                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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